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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                                  Raymond P. Moore

Criminal Case No. 13-cr-00473-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     GARY SNISKY,

       Defendant.

______________________________________________________________________________

                             PROTECTIVE ORDER
______________________________________________________________________________

       This matter coming before the Court on the parties' Stipulated Protective Order filed on

December 10, 2013 (ECF # 19), and the Court being fully advised in the premises;

IT IS HEREBY ORDERED:

       1.      That disclosure of information contained on the computers and computer storage

               devices belonging to A.S. and D.S., and identified below, shall be made only to

               defendant Gary Snisky, his attorney, and persons hired or employed for the

               purpose for assisting in the preparation of the defense in this case;

       2.      That defendant Snisky and his attorney or agents will not use this information, or

               the substance thereof, in any way except as is necessary in preparing and

               presenting the legal defense of this case;

       3.      That this information shall be maintained in the defense attorney's custody or in

               the custody of a forensics or other expert retained in connection with preparation

               of a defense in this matter;
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      4.     That such information shall not otherwise be disclosed, reproduced, or

             disseminated without prior Order of the Court; and

      5.     That the government shall clearly identify to counsel for defendant any devices or

             information subject to the terms of this Order produced during the course of

             discovery, and such devices and information shall be maintained by any permitted

             recipient with a copy of this Order affixed or attached.

      The computers and computer storage devices belonging to D.S. are described as follows:

Gateway DX4860 SN: RAK-RT3090PCIE; Dell Inspiron SN: CN-OCT3NM-74431-232-1790;

HP Compaq MXL6290 SN: 372625-080 5163; PNY 32GB Thumbdrive; Seagate Free Agent Go

Flex External HD SN: 6VP9NW59; San Disk Cruzer 16GB Thumbdrive; Western Digital My

Book Live Duo SN: WUZEU2460226; Western Digital My Book Live Duo SN:

WUZEU2460226; and an ASUS laptop SN: BBN0AS339547454.

      The computer belonging to A.S. is described as follows: Sony Vaio laptop computer

model PCG61A1ZL, SN: 275539253041455.

      DATED this 30th day of December 2013.

                                                   BY THE COURT:



                                                   ____________________________________
                                                   RAYMOND P. MOORE
                                                   United States District Judge




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